OPINION — AG -A BOARD OF TRUSTEES OF A FIREMAN'S RELIEF AND PENSION FUND IS AUTHORIZED UNDER THE TERMS AND PROVISIONS OF 11 O.S. 49-129 [11-49-129] TO INVEST PENSION MONIES IN "INVESTMENT ONLY" TYPE CONTRACTS SOLD BY INSURANCE COMPANIES AND APPROVED BY THE INSURANCE COMMISSIONER OF THE STATE OF OKLAHOMA, PROVIDED THAT THE BOARD CONSIDERS SUCH "INVESTMENT ONLY" CONTRACTS TO BE APPROPRIATE FOR THE INVESTMENT OF TRUST FUNDS AND SUCH INVESTMENTS ARE MADE IN THE EXERCISE OF THE BOARD'S JUDGEMENT AND CARE IN THE CIRCUMSTANCES THEN PREVAILING WHICH MEN OF PRUDENCE AND DISCRETION EXERCISE IN THE MANAGEMENT OF THEIR OWN AFFAIRS. (CATHERINE GATCHELL NAIFEH)